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Exhibit D
(Student Handbook, Relevant Excerpts)

 
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ST. MATTHEW’S UNIVERSITY
SCHOOL OF MEDICINE

 

STUDENT HANDBOOK

PROVIDING STUDENTS WITH THE KNOWLEDGE AND MEDICAL AND
PROFESSIONAL COMPETENCY NEEDED TO PRACTICE MEDICINE IN THE
TWENTY-FIRST CENTURY

April, 2006
Office of Student Affairs
Dr.Stephen Heller
Dean of Student Affairs

 
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Failed courses are listed and remain on the student’s permanent transcript. When the
course is repeated, it is listed a second time along with the grade received. Any student
who receives unsatisfactory grades for a combined total of 24 semester credit hours will be
dismissed. The number of failed credits of a course, when successfully repeated, is not

used to compute a grade point average.
A student failing any major course should anticipate spending at least one additional

semester in coursework prior to completion of his/her degree.

12. Official Leaves of Absence

The Dean of Basic or Clinical Sciences will consider all requests for an Official Leave of

Absence by students who:
* Experience financial hardship and need to take time off to raise funds for their

education
* Suffer an illness or injury or have a family member who suffers an illness or injury

that requires the student’s presence
¢ Need limited time off to take advantage of an educational opportunity to travel,
conduct research, or attend classes elsewhere

Only two leaves of absence may be granted. Each request is subject to the approval of the
Dean of Basic or Clinical Sciences. The Dean bases decisions on whether a semester away
is likely to allow the student to resolve a situation and whether the student’s performance
and behavior suggest a reasonable chance of success upon his/her return. Students who are
not granted official leaves may apply for readmission when ready to resume their
education. Students may be required to begin paying any outstanding debt to SMU if they
fail to enroll for the next semester or take an unapproved leave. Students taking a leave of
absence wiil be expending their 6-month grace period on repayment of loans. At the end of
the grace period the student will go into repayment of student loans.

13. Synopsis of Policies Regarding Failures and Withdrawals

* Any student who fails er withdraws from_a course will be required to repeat
that course the next semester in which he/she is registered.

* A-student may withdraw from an individual course only one time.

* Any student who has any combination of failures and withdrawals totaling
three in any individual course will be dismissed from the University.

* Any student who fails 24 semester credit hours in any combination of courses
will be dismissed from the University.

In all cases of academic dismissal, students are not eligible for re-admission unless the
student is successful in an Appeals Committee review.

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“Dismissal” means that the student is withdrawn from the University without the possibility
of readmission.

If a guilty verdict is rendered and the penalty involves only a verbal or written warning, the
décision of the Panel is final. If more severe penalties are recommended, then the student
may submit an appeal in writing io the Dean of Basic Sciences who will consider the appeal
during his final deliberations. There may be only one appeal. The decision of the Dean of
Basic Sciences is final. No student who has been suspended or dismissed from the University
for disciplinary reasons shall be permitted on campus after the dismissal or during the period
of the suspension without the prior written approval of the Dean of Basic Sciences. Similarly,
students who are withdrawn or failed in a course as a result of a disciplinary offense may not
attend the course without similar approval. Students who submit an appeal to the Dean of
Basic Sciences immediately after receiving the Judiciary Panel’s decision, may be granted
permission to attend classes until the Dean renders his final decision. All disciplinary
decisions short of dismissal involving the Maine Campus will be handled on the Maine

Campus.

 

APPENDIX C: OTHER DISCIPLINARY OFFENCES: REPORTING AND
HEARING PROCEDURES

1. REPORTING

Disciplinary offenses involving behaviors other than academic dishonesty are reported by
students, faculty, or staff to the University Coordinator and Dean of Student Affairs who will
make the initial determination about how to handle the offense. In many cases, offenses will
result in disciplinary counseling, fines, or other consequences appropriate to the offense.
Those offenses considered especially serious, possibly warranting disciplinary consequences
such as probation, suspension, or dismissal, will be referred to the Disciplinary Committee for
a hearing. Examples of misconduct or policy violations which warrant disciplinary action are
found in the “Standards of Professional Behavior and Academic Honesty” section of the

Handbook.

 

2. HEARINGS

When the University Coordinator and Dean of Student Affairs determine that a violation is
serious enough that it should be sent to the Disciplinary Committee, the hearing procedures
used will be essentially the same as described above for a violation involving academic
dishonesty. The Judicial Panel’s decision will be final with the exception of cases in which tt
makes a recommendation of suspension or dismissal from the University. In those instances,
students may appeal the Panel’s recommendation in writing. The appeal will be given to the
Dean of Basic Sciences, who will make the final decision.

 

 

APPENDIX D: ACADEMIC GRIEVANCES: REPORTING AND HEARING
PROCEDURES -

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The University’s commitment to academic quality and integrity, as well as to academic freedom,
rests upon honesty and fairness in all aspects of scholarly endeavor. Faculty must test, grade,
and review student work in a manner that is fair and reasonable. Students must maintain
scholastic honesty beyond reproach. Disputes that arise about honesty and fairness are best
resolved through open and sincere communication among all parties: students, faculty,
committees, and administrators.

An “Academic Grievance” is defined as a statement of complaint or accusation by a
student relating to instruction that a student perceives to be unfair or otherwise
detrimental to the educational process at SMU. Such issues may include methods of
grading, testing procedures, or the quality of instruction.

1. STEP ONE — Verbal Petition to the Professor

The first step in the academic grievance procedure is for the aggrieved student or students to
meet in person with the professor to whom the grievance is directed.

2. STEP TWO — Written Petition to the Professor

If the grievance is not resolved through open and sincere discussion with the professor, the
student or students shall present the grievance to the professor as a written statement of
grievance with the intent to further clarify the issues underlying the grievance and again
attempt a resolution.

3. STEP THREE -— Petition to the Academic Grievance Committee

In cases where the issue is not resolved through a written petition to the professor, the next
step is for the student or students to present the grievance in writing to the Academic
Grievance Committee within two days of next semester in which the student is registered. The
form to be used in the petition is available through the Dean of Basic Sciences. The statement
of grievance must specify the exact nature of the grievance and suggest mutually beneficial
ways for resolving the grievance. The Academic Grievance Committee will hear only
grievances presented in writing and that include names of the aggrieved student(s). Upon
submission of a written grievance, the Executive Committee of the Faculty Senate will
appoint an ad hoc, three-member Academic Grievance Committee. The Academic Grievance
Committee will investigate the evidence presented in the Statement of Grievance and, based
on the merits of the grievance, schedule a time and location for the student or students and the
faculty member against whom the grievance is alleged to meet before the committee to seek

resolution.

If the grievance involves issues of a general nature to an entire class, then the aggrieved
student or students may request a representative to participate in bringing the matter before
the Academic Grievance Committee.

The objective of the Academic Grievance Committee will be to examine the evidence and
identify a resolution that will promote the overall academic integrity of the entire educational

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process at SMU. The Academic Grievance Committee will determine a resolution to the
grievance in accord with this objective and present this resolution to the Dean of Basic

Sciences.

The decision of the Academic Grievance Committee shall be final regarding the form
and substance of the resolution. However, if the aggrieved student or students should
perceive that due process has not been followed in the above steps, then the student or
students may appeal to the Dean of Basic Sciences.

4, STEP FOUR — Appeal to the Dean of Basic Sciences

The fourth step in the academic grievance procedure, and one which addresses only the issue
of due process, is for the aggrieved student or students to present their grievance of lack of
due process in writing to the Dean of Basic Sciences. The statement of grievance must
specify the exact nature of the grievance and the basis for appeal. The Academic Grievance
Committee will present in writing to the Dean of Basic Sciences its findings and conclusions
and recommended resolution along with a full and complete description of the process
followed in resolving the grievance brought forward by the aggrieved student or students.

The objective of the Dean will be to determine whether the recommendation of the ,
Academic Grievance Committee was achieved through due process in accordance with
the steps outlined herein. If the Dean finds that due process has been followed, then the
recommendation of the Faculty Senate will stand and be implemented. If the Dean finds that
due process has not been followed, then the Dean will refer the matter back to the Academic
Grievance Committee for further consideration.

The Dean will reach a decision within one week of any petition brought before his office.
‘The decision of the Dean shall be final and beyond appeal.

APPENDIX E: OTHER GRIEVANCES: REPORTING AND MEDIATION

St. Matthew’s students are expected to treat one another and members of the surrounding .
communities in a fair, honest, and professional manner. There may be instances in which a
student reports a grievance against another student, or a member of the surrounding community
reports a grievance against a St. Matthew’s student. In either case, these grievances should be
directed to the University Coordinator or the Dean of Student Affairs who will discuss the
situation with all parties involved and attempt to mediate a fair solution to the conflict. In some
cases, the grievance may lead to disciplinary consequences for a student who is found to have
violated University policy. However, in many instances, the University Coordinator or Dean of
Student Affairs will be able to help the parties solve problems in a manner which reduces the
likelihood of either party needing to initiate legal proceedings or disciplinary action. The
University Coordinator or the Dean of Student Affairs may determine that the issues raised by
the parties are outside the jurisdiction or interest of the University.

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